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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION                                                               ENTERED
                                                                                                                  04/26/2021
                                                                      )
In re:                                                                )     Chapter 11
                                                                      )
NEIMAN MARCUS GROUP LTD LLC, et al.,1                                 )     Case No. 20-32519 (DRJ)
                                                                      )
                         Reorganized Debtors.                         )     (Jointly Administered)
                                                                      )

                      ORDER GRANTING LIQUIDATING
              TRUSTEE’S THIRD MOTION FOR ENTRY OF AN ORDER
         (I) EXTENDING THE TIME WITHIN WHICH THE LIQUIDATING
     TRUSTEE MAY REMOVE ACTIONS AND (II) GRANTING RELATED RELIEF
                                                2407
                           (Related Docket No. _____)

         Upon the motion (the “Motion”)2 of the Liquidating Trustee for entry of an order (this

“Order”) extending the time period within which the Liquidating Trustee may remove Actions

pursuant to 28 U.S.C. § 1452 and Bankruptcy Rule 9027, all as more fully set forth in the Motion;

and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b); and that this Court may

enter a final order consistent with Article III of the United States Constitution; and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and this Court having found that the Liquidating Trustee’s notice of

the Motion and opportunity for a hearing on the Motion were appropriate under the circumstances


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    The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
    federal tax identification number, are: NMG Holding Company, Inc. (5916); Bergdorf Goodman LLC (5530);
    Bergdorf Graphics, Inc. (9271); Mariposa Intermediate Holdings LLC (5829); NEMA Beverage Corporation
    (3412); NEMA Beverage Holding Corporation (9264); NEMA Beverage Parent Corporation (9262); NM
    Bermuda, LLC (2943); NM Financial Services, Inc. (2446); NM Nevada Trust (3700); NMG California Salon
    LLC (9242); NMG Florida Salon LLC (9269); NMG Global Mobility, Inc. (0664); NMG Notes PropCo LLC
    (1102); NMG Salon Holdings LLC (5236); NMG Salons LLC (1570); NMG Term Loan PropCo LLC (0786);
    NMG Texas Salon LLC (0318); NMGP, LLC (1558); and The Neiman Marcus Group LLC (9509).
    The Reorganized Debtors’ service address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.
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    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.

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and no other notice need be provided; and this Court having reviewed the Motion; and this Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The period within which the Liquidating Trustee may seek removal of the Actions

pursuant to 28 U.S.C. § 1452 and Bankruptcy Rule 9027 is extended to October 29, 2021 without

prejudice to the Liquidating Trustee’s right to seek further extensions thereof.

       2.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       3.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of the Bankruptcy Local Rules are satisfied by such notice.

       4.      Notwithstanding any Bankruptcy Rule to the contrary, the terms and conditions of

this Order are immediately effective and enforceable upon its entry.

       5.      The Liquidating Trustee is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

       6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



      Signed: April 26, 2021.
 Dated: ___________________, 2021
 Houston, Texas                                       HONORABLE DAVID R. JONES
                                                       ____________________________________
                                                      CHIEF UNITED STATES BANKRUPTCY
                                                       DAVID R. JONES
                                                      JUDGE
                                                       UNITED STATES BANKRUPTCY JUDGE




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